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       Attorneys for Plaintiff                     Attorneys for Defendants
  10   JEFFREY B. SEDLIK                           Katherine Van Drachenberg aka Kat Von
                                                   D, Kat Von D, Inc., and High Voltage
  11
                                                   Tattoo, Inc.
  12
                                 UNITED STATES DISTRICT COURT
  13
                            CENTRAL DISTRICT OF CALIFORNIA
  14

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  16   JEFFREY B. SEDLIK,                            Case No.: 2:21-cv-01102-DSF-MRW

  17                      Plaintiff,                 Hon. Dale S. Fischer
  18   v.                                            JOINT STIPULATION TO
                                                     CONTINUE HEARING DATE FOR
  19                                                 PLAINTIFF’S RENEWED MOTION
       KATHERINE VON DRACHENBERG
       (a.k.a. “KAT VON D”), an individual;          FOR JUDGMENT AS A MATTER
  20                                                 OF LAW AND REQUEST FOR A
       KAT VON D., INC., a California
       corporation; HIGH VOLTAGE                     NEW TRIAL
  21
       TATTOO, INC., a California corporation;
  22   and DOES 1 through 10, inclusive,             Current Hearing Date: April 1, 2024

  23                      Defendants.                Proposed Hearing Date: April 15, 2024
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                            JOINT STIPULATION TO CONTINUE HEARING DATE
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   1           The parties, by and through their respective counsel of record, hereby
   2   respectfully submit this Stipulation for the Court’s approval, as follows:
   3           WHEREAS, Plaintiff filed his renewed motion for judgment as a matter of law
   4   and request for a new trial (the “Motion”) on February 27, 2024 (ECF 234);
   5           WHEREAS, the Motion is now fully briefed and ripe for the Court’s resolution
   6   (Defendants’ Opposition (ECF 236), Plaintiff’s Reply (ECF 241));
   7           WHEREAS, the hearing date on Plaintiff’s motion is currently noticed for
   8   April 1, 2024;
   9           WHEREAS, Robert E. Allen, lead counsel for Plaintiff, will be traveling out of
  10   the country on April 1, 2024 and cannot attend the hearing on this date;
  11           WHEREAS, counsel for Plaintiff has conferred with counsel for Defendants,
  12   and the parties have agreed to request a continuance of the hearing date to April 15,
  13   2024; and
  14           WHEREAS, the parties have not previously sought any extensions related to
  15   the briefing or hearing on Plaintiff’s motion;
  16           NOW, THEREFORE, the parties hereby jointly agree and stipulate as follows:
  17           1.    The hearing date for Plaintiff’s motion shall be continued from April 1 to
  18   April 15, 2024.
  19           2.    A proposed order is submitted herewith.
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  21           IT IS SO STIPULATED.
  22    DATED: March 21, 2024                  GLASER WEIL FINK HOWARD
                                                JORDAN & SHAPIRO LLP
  23

  24
                                               By: /s/ Robert E. Allen
  25
                                               ROBERT E. ALLEN
  26                                           LARA A. PETERSEN
                                               JASON C. LINGER
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                                               Attorneys for Plaintiff
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                              JOINT STIPULATION TO CONTINUE HEARING DATE
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   1
        DATED: March 21, 2024           GRODSKY, OLECKI & PURITSKY LLP
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   3
                                        By: /s/ Allen B. Grodsky
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                                        ALLEN B. GRODSKY
   5                                    TIM B. HENDERSON
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                                        Attorneys for Defendants
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                        JOINT STIPULATION TO CONTINUE HEARING DATE
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